            Case 4:22-cv-05387-KAW Document 1 Filed 09/21/22 Page 1 of 9




 1   Todd M. Friedman (SBN 216752)
     Adrian R. Bacon (SBN 280332)
 2   Meghan E. George (SBN 274525)
 3   Thomas E. Wheeler (SBN 308789)
     LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 4
     21031 Ventura Blvd., Suite 340
 5   Woodland Hills, CA 91364
     Phone: 323-306-4234
 6
     Fax: 866-633-0228
 7   tfriedman@toddflaw.com
 8   abacon@toddflaw.com
     mgeorge@toddflaw.com
 9   twheeler@toddflaw.com
10   Attorneys for Plaintiffs
11                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
12
                                              ) Case No.
13   JAMIE JWEINAT and RICHARD                )
14   LECHLEITNER, individually and            ) CLASS ACTION
     behalf of all others similarly situated, )
15                                            ) COMPLAINT FOR VIOLATIONS
16                        Plaintiffs,         ) OF:
                                              )
17                                                 1. VIOLATIONS OF
     -vs-                                     )
                                                         ELECTRONIC FUNDS
18                                            )          TRANSFER ACT, 15 U.S.C.
19   LOANDEPOT.COM, LLC; and DOES )                      §1693 ET SEQ.
     1-10 inclusive,                          )    2.    VIOLATIONS OF
20                                                       CALIFORNIA BUSINESS
                                              )          AND PROFESSIONS CODE
21   Defendants.                              )          § 17200, ET SEQ.
                                              )
22
                                              ) DEMAND FOR JURY TRIAL
23                                            )
24
                                              )
                                              )
25                                            )
26                                            )
                                              )
27
28



                               CLASS ACTION COMPLAINT
                                          -1-
                Case 4:22-cv-05387-KAW Document 1 Filed 09/21/22 Page 2 of 9




 1         Plaintiffs JAMIE JWEINAT and RICHARD LECHLEITNER (“Plaintiffs”)
 2   on behalf of themselves and all others similarly situated, alleges the following
 3   against Defendant LOANDEPOT.COM, LLC (“LD” or “Defendant”) upon
 4   information and belief based upon personal knowledge:
 5                                    INTRODUCTION
 6         1.      Plaintiffs’ Class Action Complaint is brought pursuant to the
 7   Electronic Funds Transfer Act, 15 U.S.C. § 1693 et seq. (“EFTA”).
 8         2.      Plaintiffs, individually, and on behalf of all others similarly situated,
 9   brings this Complaint for damages, injunctive relief, and any other available legal
10   or equitable remedies, resulting from the illegal actions of Defendant in failing to
11   provide a copy of written preauthorized electronic fund transfers when made,
12   thereby violating 15 U.S.C. § 1693e(a). Plaintiffs bring a derivative claim under
13   Cal. Bus. & Prof. C. §§ 17200 et seq. (“UCL”) for an unlawful violation.
14         3.      Plaintiffs allege as follows upon personal knowledge as to themselves
15   and their own acts and experiences, and, as to all other matters, upon information
16   and belief, including investigation conducted by her attorneys.
17                                JURISDICTION & VENUE
18         3.      This Court has jurisdiction under 28 U.S.C. 1331, because this action
19   is brought pursuant to the EFTA, 15 U.S.C. 1693 et seq.
20         4.      Jurisdiction of this Court arises pursuant to 15 U.S.C. 1693(m), which
21   states that, “without regard to the amount in controversy, any action under this
22   section may be brought in any United States district court.”
23         5.      Venue and personal jurisdiction in this District are proper pursuant to
24   28 U.S.C. 1391(b) because Plaintiffs reside within this District and Defendant does
25   or transact business within this District, and a material portion of the events at issue
26   occurred in this District.
27                                         PARTIES
28         6.      Plaintiff Richard Lechleitner is a natural person residing in San Mateo


                                   CLASS ACTION COMPLAINT
                                              -2-
                Case 4:22-cv-05387-KAW Document 1 Filed 09/21/22 Page 3 of 9




 1   County in the state of California and is a “consumer” as defined by 15 U.S.C.
 2   §1693a(6) and a “person” as defined by Cal. Bus. & Prof. Code § 17201.
 3         7.      Plaintiff Jamie Jweinat is a natural person residing in San Mateo
 4   County in the state of California and is a “consumer” as defined by 15 U.S.C.
 5   §1693a(6) and a “person” as defined by Cal. Bus. & Prof. Code § 17201
 6         8.      At all relevant times herein, Defendant LOANDEPOT.COM, LLC
 7   was a Delaware Corporation with its headquarters in California engaged in the
 8   business of mortgage loan servicing.
 9         9.      Each above named Defendant, and its subsidiaries and agents, are
10   collectively referred to as “Defendants.” The true names and capacities of the
11   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
12   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
13   names. Each of the Defendants designated herein as a DOE is legally responsible
14   for the unlawful acts alleged herein. Plaintiffs will seek leave of Court to amend
15   the Complaint to reflect the true names and capacities of the DOE Defendants when
16   such identities become known.
17         10.     Plaintiffs are informed and believes that at all relevant times, each and
18   every Defendant was acting as an agent and/or employee of each of the other
19   Defendants and was acting within the course and scope of said agency and/or
20   employment with the full knowledge and consent of each of the other Defendants.
21   Plaintiff is informed and believes that each of the acts and/or omissions complained
22   of herein was made known to, and ratified by, each of the other Defendants.
23                              FACTUAL ALLEGATIONS
24         11.     Plaintiffs had a mortgage with Defendant LD for their property located
25   in Penn Valley, California.
26         12.     In late April 2022, Plaintiffs went online to LD’s online website to
27   setup autopayment for their monthly second mortgage payments.
28         13.     Plaintiffs went through the process and setup an autopayment to be


                                   CLASS ACTION COMPLAINT
                                              -3-
              Case 4:22-cv-05387-KAW Document 1 Filed 09/21/22 Page 4 of 9




 1   debited on May 1, 2022 and monthly thereafter.
 2         14.     Defendant LD did not provide Plaintiffs a copy of the written
 3   preauthorized electronic fund transfer when setup in April 2022.
 4         15.     Despite setting up the process, LD failed to automatically withdraw
 5   funds from Plaintiffs’ bank account on May 1, 2022 and June 1, 2022.
 6         16.     Because LD did not provide a copy of the written preauthorized
 7   electronic fund transfer, Plaintiffs did not have a record of the withdrawals that
 8   were agreed to take place and was thereafter charged unowed fees, interest, and
 9   defamed by LD who reported Plaintiffs as delinquent on their mortgage when it
10   failed to process the payments. Thus, Plaintiffs suffered actual harm from
11   Defendant LD’s practice of failing to provide copies of written preauthorized
12   electronic fund transfers.
13         17.     Thereafter, in June 2022, Plaintiffs again setup an autopayment for
14   their monthly second mortgage to be withdrawn on July 1, 2022 and monthly
15   thereafter.
16         18.     While this autowithdrawal was properly processed, Defendant LD
17   again did not provide Plaintiffs a copy of the written preauthorized electronic fund
18   transfer when made.
19         19.     Plaintiffs allege Defendant’s failure to provide a copy of the
20   authorization to Plaintiffs is a violation of 15 U.S.C. 1693e(a).
21                                CLASS ALLEGATIONS
22         20.     Plaintiffs bring this action on behalf of themselves and all others
23   similarly situated, as a member of a Class (“the Class”) defined as follows:
24
                   All persons in the United States whose bank accounts were
25                 debited on a reoccurring basis by Defendant LD without
26                 being provided a copy of the authorization to make a
                   preauthorized electronic fund transfers within the one year
27
                   prior to the filing of this Complaint.
28



                                  CLASS ACTION COMPLAINT
                                             -4-
              Case 4:22-cv-05387-KAW Document 1 Filed 09/21/22 Page 5 of 9




 1         21.      Plaintiffs represent, and is a member of The Class, consisting of whose
 2   bank accounts were debited on a reoccurring basis by Defendant LD without being
 3   provided a copy of the authorization to make a preauthorized electronic fund
 4   transfers within the one year prior to the filing of this Complaint.
 5         22.      Defendant, its employees, and agents, and the Court staff and Judge
 6   assigned to this matter are excluded from The Class. Plaintiffs do not know the
 7   number of members in The Class, but believe the Classes members number in the
 8   tens of thousands, if not more. Thus, this matter should be certified as a Class
 9   Action to assist in the expeditious litigation of the matter.
10         23.      The Class is so numerous that the individual joinder of all of their
11   members is impractical. While the exact number and identities of The Class
12   members are unknown to Plaintiffs at this time and can only be ascertained through
13   appropriate discovery, Plaintiffs are informed and believes and thereon alleges that
14   The Class includes thousands of members. Plaintiffs allege that The Class members
15   may be ascertained by the records maintained by Defendants.
16         24.      This suit is properly maintainable as a class action pursuant to Fed. R.
17   Civ. P. 23(a) because the Class is so numerous that joinder of the Class members
18   is impractical and the disposition of their claims in the class action will provide
19   substantial benefits both to the parties and to the Court.
20         25.      There are questions of law and fact common to the Class affecting the
21   parties to be represented. The questions of law and fact to the Class predominate
22   over questions which may affect individual Class members and include, but are not

23   necessarily limited to, the following:

24
                 a. Whether Defendant failed to provide the members of the Class a copy

25
                    of the authorization to make a preauthorized electronic fund transfers

26
                    after the execution of such authorizations;

27
                 b. Whether Defendants committed an unlawful practice under the UCL

28
                    by violating EFTA.



                                    CLASS ACTION COMPLAINT
                                               -5-
              Case 4:22-cv-05387-KAW Document 1 Filed 09/21/22 Page 6 of 9




 1         26.    As someone who authorized Defendant to make a preauthorized
 2   electronic fund transfer but failed to receive a copy of the authorization, Plaintiffs
 3   are asserting claims that are typical of The Class.
 4         27.    Plaintiffs will fairly and adequately protect the interests of the
 5   members of The Class. Plaintiffs have retained attorneys experienced in the
 6   prosecution of class actions.
 7         28.    A class action is superior to other available methods of fair and
 8   efficient adjudication of this controversy, since individual litigation of the claims
 9   of all Class members is impracticable. Even if every Class member could afford
10   individual litigation, the court system could not. It would be unduly burdensome to
11   the courts in which individual litigation of numerous issues would proceed.
12   Individualized litigation would also present the potential for varying, inconsistent,
13   or contradictory judgments and would magnify the delay and expense to all parties
14   and to the court system resulting from multiple trials of the same complex factual
15   issues. By contrast, the conduct of this action as a class action presents fewer
16   management difficulties, conserves the resources of the parties and of the court
17   system, and protects the rights of each Class member.
18         29.    The prosecution of separate actions by individual Class members
19   would create a risk of adjudications with respect to them that would, as a practical
20   matter, be dispositive of the interests of the other Class members not parties to such
21   adjudications or that would substantially impair or impede the ability of such non-
22   party Classes members to protect their interests.

23         30.    Defendants have acted or refused to act in respects generally

24
     applicable to The Class, thereby making appropriate final and injunctive relief with

25
     regard to the members of the Class as a whole.

26
                                          COUNT I:

27
             VIOLATION OF ELECTRONIC FUNDS TRANSFER ACT

28
                             AGAINST ALL DEFENDANTS



                                     CLASS ACTION COMPLAINT
                                                -6-
              Case 4:22-cv-05387-KAW Document 1 Filed 09/21/22 Page 7 of 9




 1         31.     Plaintiff reincorporates by reference all of the preceding paragraphs.
 2         32.     Section 907(a) of the EFTA, 15 U.S.C. §1693e(a), provides that a
 3   “preauthorized electronic fund transfer from a consumer’s account may be
 4   authorized by the consumer only in writing, and a copy of such authorization shall
 5   be provided to the consumer when made.”
 6         33.     Section 205.l0(b) of Regulation E, 12 C.F.R. § 205.l0(b), provides that
 7   “[p]reauthorized electronic fund transfers from a consumer’s account may be
 8   authorized only by a writing signed or similarly authenticated by the consumer.
 9   The person that obtains the authorization shall provide a copy to the consumer.”
10         34.     In multiple instances, Defendant obtained Plaintiffs’ authorization for
11   preauthorized electronic fund transfers from their account but failed to provide a
12   copy of such authorization when made.
13         35.     In doing so, Defendants have violated EFTA.
14                                       COUNT II:
15        VIOLATION OF BUSINESS AND PROFESSIONS CODE § 17200
16                            AGAINST ALL DEFENDANTS
17         36.     Plaintiffs incorporate by reference all of the above paragraphs of this
18   Complaint as though fully stated herein.
19         37.     Actions for relief under the unfair competition law may be based on
20   any business act or practice that is within the broad definition of the UCL. Such
21   violations of the UCL occur as a result of unlawful, unfair or fraudulent business
22   acts and practices. A plaintiff is required to provide evidence of a causal connection
23   between a defendant's business practices and the alleged harm--that is, evidence
24   that the defendant's conduct caused or was likely to cause substantial injury. It is
25   insufficient for a plaintiff to show merely that the defendant's conduct created a risk
26   of harm. Furthermore, the "act or practice" aspect of the statutory definition of
27   unfair competition covers any single act of misconduct, as well as ongoing
28   misconduct.


                                   CLASS ACTION COMPLAINT
                                              -7-
              Case 4:22-cv-05387-KAW Document 1 Filed 09/21/22 Page 8 of 9




 1         38.    California Business and Professions Code Section 17200, et seq.
 2   prohibits “any unlawful…business act or practice.”
 3         39.    Defendant’s acts, as pled herein, are an “unlawful” business practice
 4   or act under Business and Professions Code Section 17200 et seq. for violating
 5   EFTA as to the Class.
 6         40.    Defendant’s conduct caused and continues to cause economic harm to
 7   Plaintiffs and Class Members.
 8                                    TRIAL BY JURY
 9         41.    Pursuant to the seventh amendment to the Constitution of the United
10   States of America, Plaintiff is entitled to, and demands, a trial by jury.
11                                PRAYER FOR RELIEF
12         WHEREFORE, Plaintiffs, individually, and on behalf of all others
13   similarly situated, respectfully requests judgment be entered against Defendants,
14   for the following:
15
16                a. That this action be certified as a class action on behalf of The
17                   Class and Plaintiffs be appointed as class representatives;
18                b. Statutory damages of up to $1,000.00, per Class Member,
19                   pursuant to the Electronic Fund Transfer Act, §916(a)(2)(A);
20                c. Actual damages;
21                d. Restitution of the funds improperly obtained by Defendants;
22                e. Any and all statutory enhanced damages;
23                f. All reasonable and necessary attorneys’ fees and costs provided
24                   by statute, common law or the Court’s inherent power;
25                g. For equitable and injunctive and pursuant to California Business
26                   and Professions Code § 17203;
27   ///
28   ///


                                   CLASS ACTION COMPLAINT
                                              -8-
       Case 4:22-cv-05387-KAW Document 1 Filed 09/21/22 Page 9 of 9




 1         h. For prejudgment interest at the legal rate; and
 2         i. Any other relief this Honorable Court deems appropriate.
 3
 4   Respectfully Submitted this 21st Day of September, 2022.
 5
                        LAW OFFICES OF TODD M. FRIEDMAN, P.C.

 6                             By: /s/ Todd M. Friedman
 7                                 Todd M. Friedman
                                   Law Offices of Todd M. Friedman
 8
                                   Attorney for Plaintiffs
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                           CLASS ACTION COMPLAINT
                                      -9-
